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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

   Civil Action No. 14-cv-02887-JLK
   ______________________________________________________________________________

   ALEJANDRO MENOCAL,
   MARCOS BRAMBILA,
   GRISEL XAHUENTITLA,
   HUGO HERNANDEZ,
   LOURDES ARGUETA,
   JESUS GAYTAN,
   OLGA ALEXAKLINA,
   DAGOBERTO VIZGUERRA, and
   DEMETRIO VALEGRA,
   on their own behalf and on behalf of all others similarly situated,

          Plaintiffs,

   v.

   THE GEO GROUP, INC.,

          Defendant.

                         [PROPOSED] ORDER GRANTING MOTION FOR
                              WITHDRAWAL OF APPEARANCE

          THIS MATTER comes before the Court on the Motion for Withdrawal of Appearance of

   Elizabeth V. Stork.

          Having reviewed this motion, the Court hereby orders that Elizabeth V. Stork is

   withdrawn as counsel of record for the Plaintiffs in the above-captioned matter.


   Dated this             day of                         , 2018.



                                                 The Honorable John L. Kane
                                                 U.S. District Judge
